                           UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

     BRAD AMOS,                                )
                                               )       Case No. 3:21-cv-00923
            Plaintiff,                         )
                                               )       District Judge Richardson
     v.                                        )
                                               )       Magistrate Judge Holmes
     THE LAMPO GROUP, LLC, et al,              )
                                               )       Jury Demand
            Defendants.                        )


                          NOTICE OF CHANGE OF FIRM NAME
       The undersigned counsel for Defendants, The Lampo Group, LLC and Dave Ramsey,

notify the Court that our law firm has changed from Barton PLLC to Barton LLP.

                                                         Respectfully submitted,

                                                         /s/Daniel Crowell
                                                         Leslie Goff Sanders (TN #18973)
                                                         Daniel Crowell (TN #31485)
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   Case 3:21-cv-00923 Document 76 Filed 03/01/23 Page 1 of 2 PageID #: 2258
                                    CERTIFICATE OF SERVICE

       I certify that, on March 1, 2023, I caused a copy of the foregoing Notice of Change of

Firm Name to be filed via the Court’s electronic filing system, which will automatically notify

and send a copy of the filing to:

Jonathan A. Street
Lauren Irwin
Brandon Hall
Cullen Hamelin
THE EMPLOYMENT AND CONSUMER LAW GROUP

Attorneys for Plaintiff


                                                            /s/Daniel Crowell
                                                            Daniel Crowell (TN #31485)
                                                            Attorney for Defendants




                                                2

   Case 3:21-cv-00923 Document 76 Filed 03/01/23 Page 2 of 2 PageID #: 2259
